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                                                           Exhibit A to the Complaint
Location: Fort Lauderdale, FL                                                                        IP Address: 45.18.28.10
Total Works Infringed: 181                                                                           ISP: AT&T U-verse
 Work      Hashes                                                                  UTC        Site          Published     Registered   Registration
 1         Info Hash:                                                              01-03-     Vixen         12-31-2021    01-17-2022   PA0002330094
           749E544460520251EC74E0AFE586F6D1FDE01D75                                2022
           File Hash:                                                              04:30:19
           C0A0080028456E39A794A70FC0E6687158FEC4749B23E0ED395A961777FB6C06
 2         Info Hash:                                                              11-27-     Blacked       11-22-2021    12-09-2021   PA0002325831
           F384E970AC450A02931E74335A99876DCA5AFBFF                                2021       Raw
           File Hash:                                                              06:10:26
           201D0FF4E41487C0C1B7C759ED7237173F0D4D0F56007F7D5EC7FE0E6CB68A0A
 3         Info Hash:                                                              08-13-     Blacked       08-07-2021    08-23-2021   PA0002308431
           26F269F82BF4AF38796C34064B2D737E30E457D3                                2021
           File Hash:                                                              22:27:20
           E1896FBFC5152E1C2CFC9AA8D19C66FE0AE7A5DE961DBA58DCDA0D27E7F88D49
 4         Info Hash:                                                              07-19-     Blacked       07-12-2021    09-21-2021   PA0002312676
           53115092326FFAC693EC8DF35F7B913BFB316E73                                2021       Raw
           File Hash:                                                              00:57:29
           8BE02C4F01263EA20AECD08608CD4E80226C3E940766E930747627F82FFE05D7
 5         Info Hash:                                                              05-21-     Tushy         05-31-2018    07-14-2018   PA0002131771
           F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                                2021
           File Hash:                                                              02:59:06
           22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95
 6         Info Hash:                                                              05-21-     Blacked       11-21-2018    01-22-2019   PA0002149833
           F5E931AB78F7394210896FEC71ADFB7C43276832                                2021
           File Hash:                                                              02:58:23
           8E2BEF7AF870C92A364F805705266C4615109944B38A0E6D420610D5979E2A9D
 7         Info Hash:                                                              05-16-     Vixen         04-30-2021    06-03-2021   PA0002299685
           AFF0AC9A00C38E6A3B9D78DE51D0ACD3FEE31BAB                                2021
           File Hash:                                                              21:45:14
           B5B0D350B587EF9E94BF0DEADF903947299E53C8BE2CACCABD93A5032F581470
 8         Info Hash:                                                              04-23-     Blacked       05-17-2018    06-19-2018   PA0002126644
           AA99615AE6C723CB3050DAC4D48D914E6D5CC02F                                2021       Raw
           File Hash:                                                              03:35:10
           D4777437331085D9F83529F722265DFAD5117630DB84AAE1C0850A6A96FB67CA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         04-08-     Blacked   03-22-2021   04-14-2021   PA0002286722
       E99423C73146CABA22B64FF972FDB3B66BC6D81C                           2021       Raw
       File Hash:                                                         01:19:04
       8852896000A54989467CAFC490427488EC8C572DE303EF5E41E903903FADC3E6
10     Info Hash:                                                         04-04-     Blacked   03-15-2021   03-22-2021   PA0002282515
       862D6740A51A9D510E6E46DCE50494D8ED4302EF                           2021       Raw
       File Hash:                                                         17:21:12
       455DE44BB1CC40BF224675EA49FAB33F5D1193B6C351A4312C7ED0B4494A1A5B
11     Info Hash:                                                         03-29-     Blacked   03-29-2021   04-14-2021   PA0002286726
       75EACE9CA719288B52B64D4D05A349BAA09542B2                           2021       Raw
       File Hash:                                                         23:59:10
       8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8
12     Info Hash:                                                         03-16-     Blacked   03-13-2021   03-22-2021   PA0002282509
       43319DCCB518B0A38AF2B73091DD74DE2D11F68C                           2021
       File Hash:                                                         02:47:46
       96FC13D83810C44230AFE045BFAD3603B19F1A98E46ADFE605A0E3798A867F2D
13     Info Hash:                                                         03-02-     Blacked   03-01-2021   03-08-2021   PA0002280355
       A7F1171CFACE35002A796CC7428B8304B4D2F335                           2021       Raw
       File Hash:                                                         00:05:12
       997739CDCA49570ACD6F62ED8DA696908D68B6C43D24AF15EE3A11422344A509
14     Info Hash:                                                         02-15-     Blacked   02-15-2021   03-08-2021   PA0002280367
       8ACEAF6E063E20FA8AD60011A276B2DBD6C48825                           2021       Raw
       File Hash:                                                         23:29:18
       2E1AFE54A00CA51231905F46DB377AB5DC9912A59804A27F71D87D48877B6901
15     Info Hash:                                                         02-06-     Blacked   02-01-2021   02-09-2021   PA0002276143
       6D1A75568F5FD969F309E9D3B4962D54EE537DBE                           2021       Raw
       File Hash:                                                         05:44:23
       8819078D096F48944410216299128FB551BC6F20DB984F5D6559FD8D3553BAB9
16     Info Hash:                                                         02-06-     Vixen     02-05-2021   02-09-2021   PA0002276151
       50DC2EF036DB5594F25ED3B5455050C78A904DBA                           2021
       File Hash:                                                         05:42:34
       A7738C94604F818E7322174C1C3CF630607E4F042BCC1D4531FD37085D33EDF1
17     Info Hash:                                                         02-06-     Blacked   01-30-2021   02-26-2021   PA0002283695
       2BE97DFA49EF767D94E4040239C494349D409C46                           2021
       File Hash:                                                         05:41:38
       EBECDE01923BC5F8B50C0700F6BD81D8A5DCE5C823A61C812B675ED1D9613424
                    Case 0:22-cv-60268-KMW Document 1-1 Entered on FLSD Docket 02/04/2022 Page 3 of 21

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-22-     Blacked   01-18-2021   02-09-2021   PA0002276148
       A098525E9AFF43231A7DF6BB8EBAE6B031BEA699                           2021       Raw
       File Hash:                                                         05:22:16
       24B59DE82823571AA66BC642C6246BB56F743A403833A41BD4536D742034AA60
19     Info Hash:                                                         01-07-     Blacked   11-07-2020   11-24-2020   PA0002265966
       16DC7720AAA4890ED02EF33E6C2795B16F7E308D                           2021
       File Hash:                                                         03:02:39
       E04253A7BA48CA9611360A80939AAD79FE45F5C5AD059646116D30CE8D6A6154
20     Info Hash:                                                         01-03-     Vixen     01-01-2021   02-02-2021   PA0002281154
       0C5D1910B8D8E8639A61702E02291E16CB7A5596                           2021
       File Hash:                                                         05:58:32
       520A918186BBA676A432F81A738D99DB763F86BE62B6E75F569B500176D9649B
21     Info Hash:                                                         12-28-     Blacked   12-28-2020   01-05-2021   PA0002269956
       7BCAF3207D7ADED3194F9AD8EA8BA3A9B147F568                           2020       Raw
       File Hash:                                                         23:51:58
       8E557F72C44AAC0DFA29657A6636DE991F5E4DF30137A26C7DD96D6B64F21E2D
22     Info Hash:                                                         12-20-     Tushy     12-20-2020   01-05-2021   PA0002269960
       10AD926BA54EE0DA3D00E96EBE377053FAB0E6AE                           2020
       File Hash:                                                         21:37:42
       46F41B092A095715186272E856EAF705E3805D7F0FCCFD42E93DBCA01822E2DB
23     Info Hash:                                                         12-16-     Vixen     09-01-2019   09-17-2019   PA0002216134
       81CEC78AE99A723C68332182E337F15D1D260069                           2020
       File Hash:                                                         04:05:03
       6B874CEB340A267D580C6408BB5D0AFCA61276AC3FCF7EC21E47A16380A4D672
24     Info Hash:                                                         12-08-     Blacked   12-07-2020   12-28-2020   PA0002269082
       0739ED4ED4585EA4AC5CD74CD4AE6287B6AE8D26                           2020       Raw
       File Hash:                                                         01:23:06
       A24B8FE396EF28AA27CAE4B6D3731651560F805C475FA7798C5D492E85381998
25     Info Hash:                                                         12-05-     Blacked   06-29-2018   07-26-2018   PA0002112160
       5D16EC2FE6C9F9FA9F5476C90525208D413532F1                           2020
       File Hash:                                                         05:04:46
       247DCE33E47A1EC566200C820669478595511EF53F3A644E15EBEE009FBBD0A0
26     Info Hash:                                                         12-05-     Vixen     12-04-2020   01-04-2021   PA0002277036
       D2096C0FD519A3A1A62D449C8DE6710A88AC4F6A                           2020
       File Hash:                                                         04:54:56
       8C1684AAD5A48537BD5405E9C5E5341445AC8934C48F243415E1DE4FADF681DC
                    Case 0:22-cv-60268-KMW Document 1-1 Entered on FLSD Docket 02/04/2022 Page 4 of 21

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         11-23-     Blacked   05-23-2020   06-22-2020   PA0002245638
       9E44731E8EC3B6FD476E0A33695303251A58C476                           2020
       File Hash:                                                         04:58:20
       6E310240066A7148AF3E41F974E2DF798485CC20CD9169B21ACB3B29F1F08140
28     Info Hash:                                                         11-23-     Vixen     04-24-2018   06-19-2018   PA0002126671
       8A906C5A23F35028EFDE5B9C81D9EE277ACA0275                           2020
       File Hash:                                                         04:57:25
       43D9A39A71EC62D1217BFFF148FE60F03596FFA9FF4E1C286370A80E90AD5222
29     Info Hash:                                                         11-22-     Blacked   11-21-2020   11-30-2020   PA0002266354
       9A235A3B173EBC1924784B571FA2EE9C3E96B4CF                           2020
       File Hash:                                                         08:24:08
       44FFB5B48EEC7B77914F5565089A5C9650E0698BE8DF1E4EE2D3E885B18B6764
30     Info Hash:                                                         11-15-     Vixen     11-13-2020   12-09-2020   PA0002274953
       C3DCE42271F3BF918031078B7B54C41128B08F5E                           2020
       File Hash:                                                         06:19:58
       9D72D01EE26B3C0EC95B114A9B108307FBD642580E7A63675C451D9AD7D4F719
31     Info Hash:                                                         10-31-     Blacked   06-21-2019   08-27-2019   PA0002213241
       5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                           2020       Raw
       File Hash:                                                         22:41:08
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA
32     Info Hash:                                                         10-31-     Blacked   09-27-2019   10-07-2019   PA0002205468
       28F641DD86A31D9DE4BFD2443457D581BBB660A1                           2020
       File Hash:                                                         22:23:10
       5A27FE917CEC0B20F5E51A87F23515ED22F45719715C331F7E5ADEE1E0E2E837
33     Info Hash:                                                         10-31-     Blacked   11-18-2018   12-10-2018   PA0002146476
       D9261D3722C161272619A45A80E6F849B0BC63B5                           2020       Raw
       File Hash:                                                         04:38:14
       9272236D752743F64E074A94ECCD8E592FB3F4520DD24DD9BEFF5878C22DC176
34     Info Hash:                                                         10-31-     Blacked   09-17-2018   10-16-2018   PA0002127778
       9A00DC56773A2DAF8A9BFE17C2984A51122FB78E                           2020
       File Hash:                                                         04:36:06
       FBC4A307DFC7F19702E7F160ED53E04D9C37036D235F55A57AD3E47384A11A2A
35     Info Hash:                                                         10-31-     Vixen     12-15-2018   01-22-2019   PA0002147905
       A13372D383B6487823771167C3024FF64D0BAF6F                           2020
       File Hash:                                                         04:29:18
       966A72033B80F407CEC791BCFC86062A5AE505676C5DD0017BDB610154691AE2
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         10-20-     Blacked   10-19-2020   11-05-2020   PA0002263389
       C1484E85E6773D379C6C4ED1D402D30FF5EC2256                           2020       Raw
       File Hash:                                                         02:18:03
       363C657260C54421DB941EE3B5764CF3DD8788F6570BF153BC16E19E0081CDC7
37     Info Hash:                                                         09-20-     Blacked   09-19-2020   09-29-2020   PA0002258681
       2D92EFCB77A0E052DEF2ABC833D26B66E5D59A5C                           2020
       File Hash:                                                         04:17:24
       3C7733919F0B1BCCBE8CB11A2B6DE04CD6FABFA9C1999D0D50CFC2454E377721
38     Info Hash:                                                         09-19-     Vixen     09-18-2020   09-29-2020   PA0002258680
       9B1784E58EFCDDFB8626D3B44107F882F6C8EEE8                           2020
       File Hash:                                                         03:56:20
       03F71829965E952DFD74182F8C63248DD6A5EFBE4E9DA65B9C171C1880F746E9
39     Info Hash:                                                         09-12-     Blacked   03-18-2018   04-17-2018   PA0002116068
       ADE1368B6E46C601134E08553491193B57B6B7C9                           2020       Raw
       File Hash:                                                         05:11:18
       481F4BE981A0A5960E759061C38161B9E367F1F39B9E2963049E34E0F9209B62
40     Info Hash:                                                         09-04-     Vixen     10-01-2018   11-01-2018   PA0002143421
       DC3122EE59201FC4B67F54D25A7474645FF3D623                           2020
       File Hash:                                                         02:38:44
       7E79E4B03A82DE27EEA3A25C25646442A47D72748E06232B0E5ABD36C75A7052
41     Info Hash:                                                         09-02-     Blacked   08-31-2020   09-05-2020   PA0002255473
       4F3CAA9D7D8185F294DFF09E8276BDEC62D8A41C                           2020       Raw
       File Hash:                                                         23:12:39
       919E33445946B2E47A9223CBBA2E2666E8F11A358771039219D7B4160EB14A31
42     Info Hash:                                                         08-29-     Vixen     08-28-2020   09-22-2020   PA0002265876
       E95EDB9E89FA66693DF2D338AD2835F32848A29D                           2020
       File Hash:                                                         15:42:00
       2530C55C2AEB520D4BC962AB3DF48E3D54D083A34B4894CEA98D40FA036D022C
43     Info Hash:                                                         08-27-     Blacked   05-12-2018   05-24-2018   PA0002101380
       4AF37BD69FD448ED63653F3B46AA0FFD17EEA8A5                           2020       Raw
       File Hash:                                                         23:57:37
       2CA836AB6F21B1E5794421A3052E8391D85D018CF2F9F5578F853D3662845F15
44     Info Hash:                                                         08-23-     Blacked   08-22-2020   09-05-2020   PA0002255479
       B3F2F92AABA110DEAED3DF4A2157600625689993                           2020
       File Hash:                                                         21:00:03
       4A7C802343F947C5C185EFE1D0192CDC58CE8C8B5DE6581E9E9AE01AE6E600DA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         08-22-     Blacked   08-17-2020   09-05-2020   PA0002255472
       1F20D6A7008B7CCEC3410A20EFACC4AC55CEAADC                           2020       Raw
       File Hash:                                                         19:32:20
       9A1A9C2782555622990015C592A6BA55BE742A35B3ACE638D920D2A4A3D2B1E9
46     Info Hash:                                                         07-18-     Blacked   08-03-2018   09-01-2018   PA0002119596
       EE4D29BA667E69950AA31279F7FA846BF696BF9D                           2020
       File Hash:                                                         03:59:26
       CBBA895BE4865BD867EC9F1DE3100FCB5C172459C4E0F59EDC51E5818599B405
47     Info Hash:                                                         07-12-     Blacked   07-11-2020   07-20-2020   PA0002248959
       CBFA96B97E59DB3C4744AFFA546FAA65CE059F9C                           2020
       File Hash:                                                         06:54:02
       9D77F33EF0513D66CD0892B5132F639E3EF7CE64A22ED78FFAD59B029D29183F
48     Info Hash:                                                         07-08-     Blacked   07-06-2020   07-20-2020   PA0002248962
       6E092D7A3453A1D45B1439231F12D419573100A7                           2020       Raw
       File Hash:                                                         03:52:03
       D8BF82073E2B68DD94CE8EB6D1D86B84A373A3C3A9FD4A6154CF46360F2A4686
49     Info Hash:                                                         07-03-     Blacked   06-27-2020   07-17-2020   PA0002248593
       60912FB5E6ED2D944BC2B12CDB3C578461CB7A92                           2020
       File Hash:                                                         05:01:07
       84BFA90EFD3942111D357DEF50858EBDD20DC494E07AE8EA35E2557C0139EECD
50     Info Hash:                                                         06-16-     Blacked   06-15-2020   07-17-2020   PA0002248596
       93AC77760BE262244F8C30B7A064ACFD0E95E6CE                           2020       Raw
       File Hash:                                                         03:29:49
       FBAE5708BFF78E82C93645127539E317BF61BF277C83A6EFE162EE772C4C01B9
51     Info Hash:                                                         06-09-     Blacked   06-06-2020   06-22-2020   PA0002245636
       30219F5EF1E4B77DB42BCC64543DF5B1AE98239E                           2020
       File Hash:                                                         02:35:39
       754328AD4A4BC4F60A62464516F3E471E5A3E5CC77E924F967655D5A593B23D0
52     Info Hash:                                                         06-09-     Blacked   06-08-2020   06-25-2020   PA0002255509
       E2BA38D564CE1B80BB4C1DDB0181EAB395E64F79                           2020       Raw
       File Hash:                                                         02:33:24
       567594C66D3EB44E05CA9910A6BA3FCCA70189C1CBE7EB7E43C390AC2A12273B
53     Info Hash:                                                         06-08-     Vixen     08-12-2018   09-01-2018   PA0002119680
       F518524A3E8B5819DB451A88F725D979F728EC34                           2020
       File Hash:                                                         03:33:27
       214831A9AE0BDE41D7CC70624EDBDC1409C5DCDC9C98B7E89CCFD1662F95A0E7
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         06-08-     Blacked   04-27-2018   05-24-2018   PA0002101367
       C7FDB4D8F863F6A8ED3A9B43299FD16C3911DC30                           2020       Raw
       File Hash:                                                         03:32:58
       DE23DF0A9184536BE1DF80F16F1F7F5123A83D34A41DD48A2CD8A5C218E82D94
55     Info Hash:                                                         06-08-     Blacked   09-22-2018   11-01-2018   PA0002143419
       3981818C672261E5A1A0D5B561F7A7FEF98A7805                           2020
       File Hash:                                                         03:30:42
       35C429C3F1AF53B7D00E899665896B85A9252E0DFB8DF5CEF31D564AF0FBA1F0
56     Info Hash:                                                         05-02-     Vixen     05-01-2020   05-19-2020   PA0002241473
       B5E46E7274E2F1D6466D971153848365FF02CF0C                           2020
       File Hash:                                                         15:43:13
       A772D36F9C7E9A3EA3DF436508E0C4AD7562B8579BCC98D2C64C8FC4F1A6CB54
57     Info Hash:                                                         04-27-     Blacked   04-27-2020   05-19-2020   PA0002241476
       FD9F9AB92752B9716BB2119D064F264C797BB67D                           2020       Raw
       File Hash:                                                         23:10:32
       6804B83ED233CE1FCC3660243C33F78D4C1B8DD8B0D454765E8E0D5ACF92A690
58     Info Hash:                                                         04-19-     Blacked   04-18-2020   05-19-2020   PA0002241472
       658A037574D2B240AC4EBC859BED1EF255083CC4                           2020
       File Hash:                                                         06:55:45
       F6F25896450D77C9B994C19A02555EEB05D092E47D0C3BF0A30820FBE105B71F
59     Info Hash:                                                         04-18-     Vixen     04-17-2020   04-22-2020   PA0002237694
       3980A4AF24D9D9C39149DE5FFD2049E2574E8F68                           2020
       File Hash:                                                         03:58:01
       6539C265D26F77A3A6B181568F0521172A9CAF10874D69E6F2F846992747DCF2
60     Info Hash:                                                         04-05-     Blacked   04-04-2020   04-17-2020   PA0002237304
       089A334E08FB9D7BF03350D63AD8D401B6C48EEC                           2020
       File Hash:                                                         19:43:49
       3053112F46CFC5C06D9720DDBE693A0923BAEBB472ADF3E1B4BB91BCFE098C4D
61     Info Hash:                                                         03-30-     Tushy     10-03-2019   10-21-2019   PA0002207743
       63E8C3E37CCD9B8D64EFF3749A46CF55D174AF77                           2020
       File Hash:                                                         21:17:42
       9B3E1A96CD2FAACEE8822AB11046E0A85F64BCD5DAB63B0FB6BD1E3EF8810C6F
62     Info Hash:                                                         03-24-     Tushy     07-25-2017   08-11-2017   PA0002046870
       E1C14843DC58F3CB2CCB7383B242E4EE8D32363B                           2020
       File Hash:                                                         04:17:21
       B2B52FF8692BFD0B5B86AD10AFC1C974F24A7E19CA3761D99B7A306ABAEC104F
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
63     Info Hash:                                                         03-24-     Tushy     01-26-2018   02-20-2018   PA0002104196
       8151CF541971EF70109DA42D60358D50840274AE                           2020
       File Hash:                                                         04:01:20
       591212526EE8DDBA01391F3A35415DC463395B83E09F8F616EBB2BB53C493B2A
64     Info Hash:                                                         03-18-     Tushy     03-16-2020   04-15-2020   PA0002244959
       01FFE2069B4726F71FBECB4D7DB2047ED047459E                           2020
       File Hash:                                                         00:07:56
       DE2431F8B774A7DC332E16466DBCF7B8F8B22B79FCE81BB615C78B82C619256D
65     Info Hash:                                                         03-15-     Vixen     03-14-2020   04-17-2020   PA0002246114
       668C701EFF829AB7E7A02C4B7A599F2AB9151BA3                           2020
       File Hash:                                                         22:03:50
       2ADDE0592CA8679B9CB9AD421A8E15DBE1463ACEFA921B96E1B5D3DEA0F1A809
66     Info Hash:                                                         03-15-     Blacked   03-15-2020   04-15-2020   PA0002246109
       40F2DE1163500069A343FB5214CAC5F43CDF2C57                           2020
       File Hash:                                                         21:58:07
       A1E83FB8FCFDDC0843A8E99258C7BD9AA92E58AEE49DE28EFDC87F121CC779C5
67     Info Hash:                                                         03-07-     Blacked   03-05-2020   04-15-2020   PA0002246102
       C5066B1D80EAA05D2B14F75F270793B4B5C9C7F7                           2020
       File Hash:                                                         06:22:15
       F1F789A2C6376053A4B21563798EDDB6213746A5C8A3FEF712C6104986636863
68     Info Hash:                                                         03-01-     Blacked   02-29-2020   04-15-2020   PA0002246058
       10167517CF2347158A968EBE3C0C163486B6F98F                           2020
       File Hash:                                                         10:31:06
       8C938DE0E399132808AFFB1951D021BF07F12535161D0872BD50CD05E3D98C86
69     Info Hash:                                                         02-29-     Vixen     02-28-2020   04-17-2020   PA0002251744
       88FA6F9DB5A1974C26CC59247894477EA91D4AA0                           2020
       File Hash:                                                         02:18:58
       8270E9B6C79F9CDDAA8211B4F1F25163D9F56102881B1AC1A3D0D5FBCFBF113B
70     Info Hash:                                                         02-28-     Blacked   02-26-2020   04-17-2020   PA0002252443
       3E0C1C5F1E26E8922045CD0C97E9A66630A50E8E                           2020       Raw
       File Hash:                                                         01:00:44
       C0BF3B860D0EE1CC072E8FBD4E0215028099BD326A86A63815733649C5D9FB74
71     Info Hash:                                                         02-25-     Blacked   02-24-2020   03-18-2020   PA0002241627
       BCC18BD6272372F3CFC59A1BE674F61C4788F0CB                           2020
       File Hash:                                                         05:35:15
       8A56C37DE8CCCDAA7BBD3EDFA4DC0F49439A4A4CCE0BED2C6768E4FC69BA25C0
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72     Info Hash:                                                         02-20-     Blacked   02-19-2020   03-18-2020   PA0002241617
       F4D483E12BD5BA475D285D05657DD66BFB061265                           2020
       File Hash:                                                         00:36:15
       C8CCB78689D918D0D79665B3B33C13341BA46849EA640AFB43423CF912D9BAE6
73     Info Hash:                                                         02-15-     Vixen     02-13-2020   03-15-2020   PA0002240552
       D2DDFFECCBBB08FD6FC8A70B89DB307276CC73A7                           2020
       File Hash:                                                         23:28:24
       CCB1334ACDB8D410F38DDA3BCDC79A6FD7D18941840D14C855F2866FFD8F9B4A
74     Info Hash:                                                         02-15-     Blacked   02-14-2020   03-18-2020   PA0002241448
       30DC22BC455A78E942932BA6A8F7F46B52A3599A                           2020
       File Hash:                                                         06:07:45
       47593DA825F7E009DDDAFC9CE9441BCF2700161C4B34D88DAB2AD0E59273C81B
75     Info Hash:                                                         02-14-     Blacked   02-13-2020   03-18-2020   PA0002241447
       31959DBFA8875FB8FF4EFC094D1C92D4DC625E7C                           2020       Raw
       File Hash:                                                         03:28:37
       8E1FC62DCDBBC878972A90DEC72B1FBA5206AF2E9DFEB6659AB6ED88FBC76BDD
76     Info Hash:                                                         02-08-     Blacked   02-13-2019   03-11-2019   PA0002158597
       D4130E59A4F7FAA536754AB19E46653D45AA46FF                           2020
       File Hash:                                                         08:23:48
       CBB560E940E2451C8A2A665F1ABFB9091234B6B474242BE14C8888C1CDE9F342
77     Info Hash:                                                         02-08-     Blacked   07-11-2018   08-07-2018   PA0002131894
       BC8ACAF0DC42FB3CEEDEB0DC51C20206FDBB20E4                           2020       Raw
       File Hash:                                                         08:20:13
       919DA12AA4735E13F322A5B132BEC0D5B86ACB0BCD58ACEF7FAB4799C46583F5
78     Info Hash:                                                         02-08-     Vixen     11-15-2018   12-10-2018   PA0002145829
       1D4F8BC60FF91E4A8991397E26BFAA8545914E58                           2020
       File Hash:                                                         08:15:08
       828B25E117FB123B4C52940B353A777E9255293B290E607074FBF66531FA742C
79     Info Hash:                                                         02-08-     Blacked   11-21-2018   12-18-2018   PA0002141915
       9E327416325533C3D0F6B592CD2F8F3F70FC1D0A                           2020       Raw
       File Hash:                                                         08:15:07
       BB53292CCC77CAC9E8F30E027AC2F15221938C8CE0E3E907C5957FC576F75245
80     Info Hash:                                                         02-08-     Blacked   10-12-2018   10-28-2018   PA0002130455
       259A2C3790345E1C8DE8609B1D36987D0AA87E7C                           2020
       File Hash:                                                         08:12:58
       F8706D2AC4AD84950FE809E3931FA53CB4295A3A8C21442E8B83FBBC680A592C
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81     Info Hash:                                                         02-06-     Blacked   02-06-2020   02-20-2020   PA0002229053
       58BE365ACD207A61818FCE25E96EE42CC9F37C70                           2020       Raw
       File Hash:                                                         23:55:03
       E87F9309A3DC312D012D2EDBD6AB3DAF5EADA0094DAA5FF3F994B82E778CFFD1
82     Info Hash:                                                         02-05-     Blacked   02-04-2020   02-20-2020   PA0002229052
       98A7396F4B2B73301521703E68688BD98063104D                           2020
       File Hash:                                                         06:01:51
       EC7F3F865D934F1594E5F8E53A103717F39DA69AEDA7FAD4BAD2A032D5AF4520
83     Info Hash:                                                         02-04-     Vixen     02-03-2020   03-15-2020   PA0002240554
       F4695C8F59FD86DCDB069CEB3A1866FDD5E3BE43                           2020
       File Hash:                                                         05:34:46
       CDFFB7F3BE90953602038C71009A204B72D47B1345941FB049F43195C66FBD9E
84     Info Hash:                                                         01-31-     Blacked   01-30-2020   02-20-2020   PA0002237624
       C36B70D35B13EC6143CD098E5424C872C0B7D9CC                           2020
       File Hash:                                                         06:43:06
       82651A793EDFCEF027EAA97231B6B487B2A6A7722A8959851C1A6668157DB9AD
85     Info Hash:                                                         01-30-     Vixen     01-29-2020   02-20-2020   PA0002229058
       CF38BFE1D0E03012B60F475D878E3C658F3F9277                           2020
       File Hash:                                                         07:23:04
       3932406A76C2B707C5D03A0FBBAA0DDD64B528BC9FB84984D1199D3D315CFD85
86     Info Hash:                                                         01-28-     Vixen     01-24-2020   03-15-2020   PA0002240434
       CFAAC9C17581B3E7E4450341614524AE2FE06F64                           2020
       File Hash:                                                         05:39:17
       881B0BBBE91B6CE7C3868F008B3DEBAF1457A2EF08F853226BC34984B338C2B5
87     Info Hash:                                                         01-28-     Blacked   01-27-2020   03-15-2020   PA0002240550
       928632A518134F94A03DBD693947723C09EE9276                           2020       Raw
       File Hash:                                                         05:30:27
       DBB3A1ECDC30D2E12E9E548DFDACC26F3552C761C387C14986872EB72DC07517
88     Info Hash:                                                         01-20-     Vixen     01-19-2020   02-20-2020   PA0002237691
       AFA50296ECAC1832A852B339BC6BF529E4DA693A                           2020
       File Hash:                                                         07:51:24
       33B7ECDD0429547DA62F5138047273C6E8CB3D79BD4A902EF4B06867E9F6CDB4
89     Info Hash:                                                         01-16-     Blacked   01-15-2020   02-04-2020   PA0002225584
       89E4962182F021383F3EE12A88287A73A03475C7                           2020
       File Hash:                                                         00:47:32
       7940DA198411A86477B2A4E325B696FF53294BC0873C1137EAF23844FAFC1BF2
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90     Info Hash:                                                         01-11-     Blacked   01-10-2020   02-04-2020   PA0002225582
       8340DF7A3A5C43A154B8A190F8EB6010786137E1                           2020
       File Hash:                                                         07:24:21
       D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10
91     Info Hash:                                                         01-06-     Blacked   01-05-2020   02-03-2020   PA0002225565
       C747D07002A77F3F2B59F26E9742C3EF56CB897D                           2020
       File Hash:                                                         08:17:09
       5597DF4BF6ED45CB513885F685212ED145ADC3D3B5DB615C8954E6DD29DCE190
92     Info Hash:                                                         01-05-     Vixen     01-04-2020   01-27-2020   PA0002223959
       65A0D2D0B9BD9351FC9D7BE5BFA53F9FD4B3D1B4                           2020
       File Hash:                                                         18:18:13
       7D6F2477756F504E1ED8DBC7F6A43EC54347DD51854283EC7BC94F8149A6EDCE
93     Info Hash:                                                         01-04-     Blacked   01-02-2020   02-04-2020   PA0002225581
       63D8D9B3820167570E8ABB7E82A37DA24954AB7D                           2020       Raw
       File Hash:                                                         08:22:11
       D943C0B89D441D28D1E72D25829F743130C67F0A9BC6E273ADBA6EA6560A9116
94     Info Hash:                                                         01-01-     Blacked   12-31-2019   01-27-2020   PA0002223957
       1B02C5FD0BD43D66CA7F1862752B7D33093B13BA                           2020
       File Hash:                                                         21:59:45
       8633705E63B8E74B37A5E3E4D917CB9038CB87429F9687CD7E5A0D0887E468B4
95     Info Hash:                                                         12-27-     Vixen     10-01-2019   10-21-2019   PA0002207746
       89FD3837A3C4E4D5E5C8398F16D7B3E4869B7A78                           2019
       File Hash:                                                         21:53:43
       8B9344D2CF0B407F44FBCED3BE40E1321D9950A5D2CE477EF7246A98FABBF8F8
96     Info Hash:                                                         12-27-     Blacked   12-26-2019   01-27-2020   PA0002223955
       7933E524A0B34BD929026F7442AB7ADBE9F82B76                           2019
       File Hash:                                                         21:49:45
       3E128A945407F889D13D2D5D8B4CC3D4431E79751A881FA7C1BE8C26FF4AC53E
97     Info Hash:                                                         12-22-     Blacked   12-21-2019   01-03-2020   PA0002219632
       3C14287BE2D3E5D157ECD1E229531CC19C5C8E74                           2019
       File Hash:                                                         01:06:04
       03C7B1F0EADE1D38CDDE1D3E47C9361D471518DAC16B84568C6440BB03933B68
98     Info Hash:                                                         12-22-     Vixen     12-20-2019   02-03-2020   PA0002225564
       7862CA396687AC16BDDC6A4CC29ADDF64A629F7E                           2019
       File Hash:                                                         01:03:15
       34E002CBA3EFB028D3453F4651A8E8DF57BFAECF43D6824A6F0BDFDA802DB166
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99     Info Hash:                                                         12-15-     Blacked   02-01-2019   03-24-2019   PA0002183205
       AC7FA021B38E24D1B89250B1B963879739C88A06                           2019       Raw
       File Hash:                                                         23:16:12
       A0E2F22B61C2FE0C8FBF8EFF45988C31E2A5B695A6BDD4C07B061711F5009550
100    Info Hash:                                                         12-15-     Vixen     09-26-2018   10-16-2018   PA0002127776
       A1D049D475923190FF3A7134A0D2B9F10D62914B                           2019
       File Hash:                                                         23:06:08
       5CC7B2A2F9FDF77BAA9590EA331B4ACA835003E9200CE9B46F9375AB1B4632E8
101    Info Hash:                                                         12-13-     Vixen     09-06-2019   09-13-2019   PA0002200698
       E91E878AE63CBB18317E58411FA9B607452100D5                           2019
       File Hash:                                                         18:44:10
       0E0D12E5DC1AF250B4E5BEA2EAB4B20980D42D01276550884CE24AECC733C7E1
102    Info Hash:                                                         12-12-     Blacked   12-11-2019   01-03-2020   PA0002219628
       3EFE1972448E3CEE7089031141791E80FEE4781A                           2019
       File Hash:                                                         19:53:34
       9F6523E45B05993AEB8924EA5291A69C7E5DD3314526A39BE5C7444F0CE744CB
103    Info Hash:                                                         12-11-     Vixen     12-10-2019   01-03-2020   PA0002233429
       E65C8A7AD4B9405CB2994396CF1146FE84014368                           2019
       File Hash:                                                         19:45:40
       35C3C8A4D5131463919CC7CC04F2327481AC5436DF6CE91E4E91B0F84B24CEAE
104    Info Hash:                                                         12-09-     Tushy     08-09-2018   09-05-2018   PA0002135685
       654FDEBA4D88249E1F34D0661AB9A548091828CC                           2019
       File Hash:                                                         05:32:48
       8F91DA39430C2711DC1B6E92FB5E47B090DE8E67D9F33620B35E3F3ECA8DA5B4
105    Info Hash:                                                         12-06-     Blacked   12-03-2019   01-03-2020   PA0002233431
       AE85D2190589CE8883FED23909B796D22C58205F                           2019       Raw
       File Hash:                                                         21:28:47
       93EE38CF768E0E62E4546E703E275C40ED5328DFE66F42DCE47FF938F9DC34C5
106    Info Hash:                                                         12-06-     Vixen     12-05-2019   12-17-2019   PA0002217671
       5521F3BB1635DAA5CDC136162AAD0DBB2380C9D6                           2019
       File Hash:                                                         21:11:43
       4D38C67BD5BA68DD00DB6CD2F2F7BF1E2D0B2D5C9F0A88124C2EFEA60E7A469E
107    Info Hash:                                                         12-02-     Blacked   12-01-2019   12-17-2019   PA0002217663
       D2AD73FD04C3CEACFC3B366849546A13094CBF34                           2019
       File Hash:                                                         04:50:00
       8730E641DB888136CD4E9A1EA37C129852A6999082620E5C071F489A6055E333
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108    Info Hash:                                                         11-27-     Blacked   05-02-2019   05-28-2019   PA0002200769
       FB74770301183194E022950AB806F22711E1D882                           2019       Raw
       File Hash:                                                         22:26:45
       F46BFB163A513B7F3E12142FBD8465F06FA30094AA36D8A3EA740283856110EB
109    Info Hash:                                                         11-27-     Blacked   05-20-2018   07-14-2018   PA0002128469
       6677A34981ADD5ECD31DE1CA597F1FFC7F7D5D77                           2019
       File Hash:                                                         22:23:57
       DF01FAC71E200AADC39775BB000F3DF98A43F715767F321ED62A96342238B9BE
110    Info Hash:                                                         11-27-     Blacked   04-10-2019   05-11-2019   PA0002173883
       80494AFA4036C921B131676C3D1A61F5DE378231                           2019
       File Hash:                                                         22:23:36
       85424ED7263189BB726B267E8436C95A6813BF8FA9C33CFAB19E35095E7FBBC4
111    Info Hash:                                                         11-27-     Blacked   09-12-2018   11-01-2018   PA0002143426
       B038E50CE96EA99AC02E1BCF051643E7314A3667                           2019
       File Hash:                                                         22:23:21
       72EAA4CC3AC4AF5B8AA2AD7BE38FAEC63017FABD2E62BA4876A94B5E05131F37
112    Info Hash:                                                         11-27-     Vixen     05-29-2018   07-14-2018   PA0002128390
       24F17708EFCAC58DF9FDADED47654864C1F4DB52                           2019
       File Hash:                                                         22:20:10
       FBAADD72C5F7E2E8081B8CA6D56DBE05C302462E0D2E8D0F0B82E2DFB637F579
113    Info Hash:                                                         11-26-     Blacked   11-25-2019   12-09-2019   PA0002216263
       7C5A1890D995D3FF8D81B616C56BEE328DC0ACAA                           2019       Raw
       File Hash:                                                         00:27:06
       80C5CA084162635E28D69A0A50697ED5B2710304993699E05BE3BA77CA79DE63
114    Info Hash:                                                         11-26-     Blacked   11-25-2019   12-09-2019   PA0002216262
       85CBC3B330014D02FB58B03A412DF1BDE927CE2D                           2019
       File Hash:                                                         00:25:41
       F83F1606590AC7256D37203AA4280E8892E6D55FE39E51AEFFF1693785E7D656
115    Info Hash:                                                         11-23-     Blacked   11-22-2019   12-17-2019   PA0002217672
       E57E9AB5496EDF20EEF76E8B03D7026B9537DB24                           2019       Raw
       File Hash:                                                         07:03:35
       BC5DB9156091AFCECD8D13967AF0DC361CF3B44FCEB09BD0EDC6AFAB11CEA118
116    Info Hash:                                                         11-23-     Tushy     11-22-2019   12-03-2019   PA0002232052
       9B991CA42B87DC86B19EF95998D1282C1E188E00                           2019
       File Hash:                                                         07:03:05
       CFA72EA152DD827C145166E600349017CCEFD9C1FCDA3374115C2BCAD05C0681
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117    Info Hash:                                                         11-20-     Tushy     09-18-2018   10-16-2018   PA0002127779
       7187921EA9FCD6A45613346F742B048B53088923                           2019
       File Hash:                                                         20:32:06
       A38570FA0B1ECFD592AFC77B4EF2BFBAE9B2D87E31DB74B2604DDFEC650BE5EF
118    Info Hash:                                                         11-20-     Blacked   08-08-2018   09-01-2018   PA0002119598
       223D4DB0ECFA99B84C7510AF336D48C5494E3DF7                           2019
       File Hash:                                                         20:25:22
       52EDB908CC74DE921A210770E7B1CE52354936A1DB6F171466EC74F6AA49B8C5
119    Info Hash:                                                         11-20-     Blacked   09-29-2018   11-01-2018   PA0002143425
       C2295AE8704ED037E9E49C2B4B5FBA45316C02A8                           2019       Raw
       File Hash:                                                         20:25:01
       9502A6D713E597EA87671BC97A6B83FA8C08CE59EEDE4B4EAC0871660F6D17D5
120    Info Hash:                                                         11-20-     Tushy     09-03-2019   09-13-2019   PA0002200699
       1D1CFE4975FA86AA9A3DC1505EEAEED91CCB9B36                           2019
       File Hash:                                                         20:20:21
       3954CD69773DA875F67C129965A028CC69868B630CEF7F65279EEC4C3A017EC9
121    Info Hash:                                                         11-19-     Blacked   11-18-2019   12-09-2019   PA0002216261
       97B96F1A5A80ECFA0882E7235A39A11A96A7C4D4                           2019       Raw
       File Hash:                                                         06:42:05
       2DB41B813ADC8211D13CF765206D1EA848F8937B706D92C429FD5B6128F96569
122    Info Hash:                                                         11-17-     Blacked   11-16-2019   12-03-2019   PA0002232049
       D80229A46F5B9A14A2C1CA5AA18CC184EB161AB5                           2019
       File Hash:                                                         06:24:02
       3E401CCAA394CBCC50CF3733A968E37F494456B2B1CF76B12A54FD32CB1B07A3
123    Info Hash:                                                         11-14-     Blacked   11-13-2019   11-27-2019   PA0002213997
       00D4C51A29C9BECB409301B771D686F17B05B89B                           2019       Raw
       File Hash:                                                         20:16:02
       2517AD4C9EBD5958B7B53277E98727CB70A48CAE5960B8795E50AD33A0666CBE
124    Info Hash:                                                         11-12-     Blacked   11-11-2019   11-27-2019   PA0002213994
       5ACEC22A87759CB3F31A051E937EFB7F3869D2E1                           2019
       File Hash:                                                         06:37:23
       1FFDE16544890F5DE30F2B18B66E6A3F96AD563701D2A87FCBC479049CC11654
125    Info Hash:                                                         11-09-     Vixen     08-07-2018   09-05-2018   PA0002135684
       FFB59D7B851B2FAC080AAAD07215FDA138C5D5B9                           2019
       File Hash:                                                         19:38:38
       4D2854BA411686AAE8016C70FC4069BB3DAFC98CE09D501E044B032EF5879205
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126    Info Hash:                                                         11-09-     Blacked   11-08-2019   12-03-2019   PA0002232045
       E496CFD95E6D892EAD139B6B46DD3B23BC03EB02                           2019       Raw
       File Hash:                                                         18:22:19
       46F4694032B521689B329C11F24A23E19823C1EDFE712BD7CB31E202FF2F9F3E
127    Info Hash:                                                         10-28-     Blacked   10-27-2019   11-15-2019   PA0002211841
       44C0E963C521EACC951B6321E18F5F8AAF1760F0                           2019
       File Hash:                                                         04:34:44
       756358947414347B4B5014BF7862A09A458C8FD89F9C29734EAA6D60CEAE398C
128    Info Hash:                                                         10-23-     Vixen     10-21-2019   11-05-2019   PA0002227093
       0C80A67047F01CC53D38E0C3E19EE88A30035E82                           2019
       File Hash:                                                         21:46:44
       923E7460E752915977FD98711BC5A92C2A2B5A402EA36FDEE268B6AA9E35D480
129    Info Hash:                                                         10-18-     Blacked   10-17-2019   11-05-2019   PA0002210291
       0D4C40A4AD76213A29D7D81833A88069F96C880B                           2019
       File Hash:                                                         04:24:18
       36E7FBF4E360DC0AB31CFC8A5E15295CD4DCE06E97194AABC02C59A835AE8850
130    Info Hash:                                                         10-15-     Blacked   10-14-2019   11-05-2019   PA0002210289
       9F23AA31CB6FB2FB11C037F7904AD66709AEE5A1                           2019       Raw
       File Hash:                                                         10:52:32
       7A5A143A8C69EB2B6D1920689502D81CE571E19ACB335900E72DE6F26F6E492D
131    Info Hash:                                                         10-09-     Vixen     10-06-2019   10-21-2019   PA0002207778
       06A699F04233A269B959CFBD8EF524A5BAE9D731                           2019
       File Hash:                                                         04:16:49
       B723692E9D6892949F879FCEA92B1FE19361ABB754D298EC37F2A99AE416B9BE
132    Info Hash:                                                         09-21-     Blacked   09-19-2019   09-25-2019   PA0002203162
       4718E90F8EC8017A313F0E16F7B744B158AAC604                           2019       Raw
       File Hash:                                                         03:40:51
       687957B63794780230326924D082C1F054B0ED0FA70D4891292F96B9B488985D
133    Info Hash:                                                         09-18-     Blacked   09-17-2019   09-25-2019   PA0002203161
       7E3A369E1C78EE170A75663BCC9126D2902D8A81                           2019
       File Hash:                                                         06:15:16
       63290BDBEDF5C7343F37C7CBD0113D0B95EA091BB67EB25B09DD403B22FF91EE
134    Info Hash:                                                         09-12-     Vixen     09-11-2019   09-25-2019   PA0002203160
       73A2A94B799E648A0B3BF984EF26B33BDB6D9F3B                           2019
       File Hash:                                                         04:39:42
       3A43357A29B98E7B2324EEF0D6C3A5757CB6607382EEDD5ABFAB1839DE1F84DA
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
135    Info Hash:                                                         08-31-     Blacked   08-30-2019   09-17-2019   PA0002216138
       21B9DD1AD65C9340920B31128D91CA3F85913384                           2019       Raw
       File Hash:                                                         03:46:57
       607E813AFC513692CA99D3362D23A42D458E9AB2931661B9AAF58F4F8E75BF46
136    Info Hash:                                                         08-23-     Vixen     08-22-2019   09-17-2019   PA0002216215
       861C4477A301833A3B3FB0CB5C5932DA86749D9F                           2019
       File Hash:                                                         23:22:40
       1E868123E3F257E91CA894975E6DCFAB117FB0F203E456E5E2A193DC06A94535
137    Info Hash:                                                         08-23-     Blacked   08-23-2019   09-11-2019   PA0002199989
       CB0D3A2DD39D12D6D1D0E2C443ED888B62498111                           2019
       File Hash:                                                         23:14:59
       7B707376CC5B122A7C27CDA6D9D25EA806B8A3386816712746E86CC013B76C2A
138    Info Hash:                                                         08-21-     Blacked   08-20-2019   09-13-2019   PA0002200701
       9606A2BEBD2ED49AF47787169BF9B73A4A1C9CDC                           2019       Raw
       File Hash:                                                         23:34:22
       351673D7BB0532484059A5C5E6C65500889E456A63424B325E0A00A47AAA81C3
139    Info Hash:                                                         08-19-     Vixen     08-17-2019   09-10-2019   PA0002199413
       AF2372F96C74B641C308A2D6DB6FE9944214A159                           2019
       File Hash:                                                         02:55:17
       C0F3009230282C4ACFB3747A0E13450AEDB9CE4BD0B32391D0EE60FEB23D5E73
140    Info Hash:                                                         08-19-     Blacked   08-18-2019   09-17-2019   PA0002216216
       E64E22B3A95E01BB8340966C9CC85216430E26CC                           2019
       File Hash:                                                         02:46:15
       DD8A8D71ACFFA1BA653AC7D4D732594CF015BCBC0D0215827EFF5494950BED19
141    Info Hash:                                                         08-18-     Blacked   09-27-2018   11-01-2018   PA0002143428
       0616906E5B0D445A8FB469D45908C91D24F6CD2F                           2019
       File Hash:                                                         06:10:10
       9AC3BBF9185D5F2498389B013DAD21FC070F127E17E3B94B23F09A5C26518E53
142    Info Hash:                                                         08-18-     Blacked   08-15-2019   09-17-2019   PA0002216211
       5E81E3E5E68BCAB9729C9BDA698C56A954695377                           2019       Raw
       File Hash:                                                         05:57:54
       249303FB0D18D0DC7C7EC04ADB7B8922578C4F9AF6A8CF6EE5DAE94EA3BFAD93
143    Info Hash:                                                         08-11-     Blacked   08-10-2019   09-11-2019   PA0002199990
       ED2D8B8FC73E5599B734649A95E35A6E7BC1768E                           2019       Raw
       File Hash:                                                         03:52:23
       81025B6CA1036C3CDECC5B8F12BD52D9D5EE761693724E29890943CE4E12382B
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
144    Info Hash:                                                         08-04-     Blacked   01-10-2018   01-15-2018   PA0002070942
       74AEEF550371F9D107ADF0042CC362918DDF1D7C                           2019
       File Hash:                                                         19:07:20
       05C6927CDB7B010D6344FC7DD0F944E9478B52E08BAB5C162A9843CCDBB7A6D6
145    Info Hash:                                                         08-04-     Tushy     05-31-2019   06-17-2019   PA0002181300
       1DFB1753EC9989A9988C50B4927FD1F8F07021D6                           2019
       File Hash:                                                         06:06:27
       FCF279202902EA6E3D0FAD1FA98C56F0FA68266DBAFAC1801851C20D6393BB79
146    Info Hash:                                                         07-31-     Blacked   07-29-2019   09-11-2019   PA0002214887
       171A4A6D434ACC7F251BA58366B7F741C4706C59                           2019
       File Hash:                                                         22:26:23
       B33C85A41CE7B8B0145A635645D039974B7A8552D267B9421DF9743946831473
147    Info Hash:                                                         07-30-     Vixen     06-23-2019   08-27-2019   PA0002213299
       46A425CD32D8D1F2F4F12C3749A349ED19B3BF6F                           2019
       File Hash:                                                         01:09:35
       A4E5E58EF2F72F50CE7D049307D28483D832FC0807EE8F2DB46CB5EEEFC71CC0
148    Info Hash:                                                         07-26-     Blacked   07-24-2019   09-10-2019   PA0002199414
       B426DA516B5F87C97B1C1D5732F040BC16B1F5A4                           2019
       File Hash:                                                         03:33:06
       8D6DDB62698A011D6F8AEDECA858410D559FE50CDD8DF33B7527D8CBC1F54D77
149    Info Hash:                                                         07-23-     Blacked   07-21-2019   08-27-2019   PA0002213243
       520B8FD2205BD05866304E15FF59E272165F07A1                           2019       Raw
       File Hash:                                                         03:15:09
       52DF64DCF2BE2409B2C2E574B2C2C5FFD31B98A0B8A9E2FBD1F768A641D64D77
150    Info Hash:                                                         07-22-     Vixen     07-18-2019   09-10-2019   PA0002199410
       C1957FCFBE31019DF2047C1FDF3C4DE2C5A41C8D                           2019
       File Hash:                                                         03:12:27
       CCE5D72606498343DCA8F50DCA2E278FFB75C23FDFAA645F013AE5D0F2B253A9
151    Info Hash:                                                         07-15-     Blacked   07-14-2019   08-02-2019   PA0002192303
       9A6C1BC10CC4EAF009B2196EAEAAF5443ED38C21                           2019
       File Hash:                                                         20:03:28
       906C16FF2B3942BCA7D2BFA4B1EB8E142AD916913F744218BE9BB7B154FF0643
152    Info Hash:                                                         07-14-     Blacked   06-28-2019   08-27-2019   PA0002213235
       525974DE27E21D9D5DE30A79D31EAF04543C0E93                           2019
       File Hash:                                                         18:27:18
       2B5903DE34F121905C56E7D0465FDD8249D61FE160D063D59B3046C23F738F9A
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
153    Info Hash:                                                         07-14-     Blacked   08-13-2018   09-05-2018   PA0002134995
       4D29EE018A8F7EFEB2F05420E4FF71A8A314762A                           2019
       File Hash:                                                         00:19:33
       CB6851AF715BFEA42DD5AA76C2259C7F6FA49A82CB907C16679B935539EF88AC
154    Info Hash:                                                         07-14-     Blacked   03-16-2019   04-17-2019   PA0002186980
       B67C82932EBDBD98F7BAE04E0D159CD3BB4241C1                           2019
       File Hash:                                                         00:18:25
       37960984BE2C789293DB422AC4FEFC69EB7CCAC1357CF00794A88F7B208E6BD2
155    Info Hash:                                                         07-11-     Blacked   07-09-2019   09-10-2019   PA0002199416
       8A8DC283B45B7E04709E90CD0A1DF8F1592C1612                           2019
       File Hash:                                                         03:11:50
       EC0188942436E345833E4B637642A83B850471132EE8338BD89D3926B8E17343
156    Info Hash:                                                         07-09-     Blacked   07-01-2019   07-17-2019   PA0002188302
       BBBB491861320973D32925E36DF7B437100D9861                           2019       Raw
       File Hash:                                                         02:10:48
       0FFCE13191120060DC13FA5B30568447FBC5884690A60428EB2C2ADA9F289D9F
157    Info Hash:                                                         07-09-     Vixen     07-08-2019   09-10-2019   PA0002199411
       C4341AB2306D83510740DDA9FA289306F8874A79                           2019
       File Hash:                                                         01:59:01
       E3929017009B2C9EFC94F419309B16346A86AAE8361D5BA626E7E98131473127
158    Info Hash:                                                         07-07-     Blacked   07-06-2019   08-02-2019   PA0002192304
       90AF3C86FC0ECD0146DDFE57BFEAA4E26D079194                           2019       Raw
       File Hash:                                                         15:04:27
       6C07F7106D560D21F03E3A88304E502368948D9E4E838909E453898AD6BEBA00
159    Info Hash:                                                         07-02-     Vixen     07-13-2018   08-07-2018   PA0002131906
       0A23EC76CDD439244FD60C43B666EDE2108DAC9C                           2019
       File Hash:                                                         19:57:17
       F9742A3D14C368B08A4A22FF89A1EAC810CEB818415E911B9D7F2F25D7C9CF1A
160    Info Hash:                                                         06-30-     Blacked   04-25-2017   06-15-2017   PA0002037576
       CC4D89C30BD65D68546BCF62ACE381585BD879EF                           2019
       File Hash:                                                         17:33:21
       0B3CBA76BF3CFAB6D9318F5150DD1FCBE4282027F995B7360C3FCD1D48AF4AAB
161    Info Hash:                                                         06-26-     Blacked   06-19-2019   08-27-2019   PA0002213298
       B70A52A3C3BDF27D9166CD03C29BF74E740C6BCA                           2019
       File Hash:                                                         02:51:48
       6E4AF44B55494F5E05B6D71BE946A7845B5165A7E8FF3CF96DC9659848E216E1
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
162    Info Hash:                                                         05-24-     Vixen     05-24-2019   07-17-2019   PA0002188303
       F08F9233CE0D8367276755228F6CF6E6186ACA06                           2019
       File Hash:                                                         23:53:04
       170D2A9BF91B8C336A175E16E2EAD4683185ED7E937ECBED66217A8022C612FD
163    Info Hash:                                                         05-23-     Blacked   05-22-2019   07-17-2019   PA0002188299
       DDE59C875C7FEDB150E58E51ACFF8D33FDB2CF72                           2019       Raw
       File Hash:                                                         23:31:06
       B1EAEAD5B5D4AA4102D4A0D46CF8206B6D4E3C6E2EAD3BAFD1BD26D336683604
164    Info Hash:                                                         05-18-     Blacked   01-10-2019   02-02-2019   PA0002155382
       AA9D6ED52E9FECEA19124A8F7FE433617F801994                           2019
       File Hash:                                                         01:03:38
       3A24DE8F7A7AF1CE8D0BF9896895AC6606FE5CCF057E77AF300CFA9F83F06ACB
165    Info Hash:                                                         05-18-     Blacked   05-17-2019   07-05-2019   PA0002206002
       CA51A65092A2F36DA4F8263878BBE47920F00E66                           2019       Raw
       File Hash:                                                         00:53:46
       AB64855252C08FB1B64C364803DAD18689BC497855EE4FDA87EDB8071EF3141F
166    Info Hash:                                                         04-28-     Blacked   04-27-2019   07-05-2019   PA0002206379
       7E12AAAF9FCB513418DDE90DD302DC0042A5815D                           2019       Raw
       File Hash:                                                         14:24:31
       50104D26212DF35F751B77BDC952D02456011F926C730A4765338B6ED1951652
167    Info Hash:                                                         04-26-     Blacked   04-25-2019   05-28-2019   PA0002200766
       97862380FA2F843FB999F4EE0CBEFE6C2D5E0683                           2019
       File Hash:                                                         22:55:16
       1FF9A29DD8C8DBEA3E2700710FCAF7F55470B00446159116D539EBDC1AE19BD2
168    Info Hash:                                                         04-26-     Vixen     04-24-2019   06-03-2019   PA0002178769
       6139AEF3696F83F031C0ED30F17BE4D3EA235E43                           2019
       File Hash:                                                         01:27:37
       2FD586D8D4834490E7A7E5E87786872FAB9995B981C78EB30DA5C3ACB75F4208
169    Info Hash:                                                         04-16-     Vixen     04-14-2019   05-28-2019   PA0002200761
       F233046B237639FCA958C6DBEC40057C28890E5D                           2019
       File Hash:                                                         18:31:51
       2FDF4CFE08F16A2317961394496FF936E9AA1B6975AD0E0DDE739169E1D86CEA
170    Info Hash:                                                         04-09-     Vixen     04-09-2019   04-29-2019   PA0002169963
       C5467D80EAB20195A4D5C5C171EF1C0C02343317                           2019
       File Hash:                                                         22:41:21
       1C87A9DA1C044AB0BB163AF53D4AFC3207AB4AB9F481586EF90413379D95FF70
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171    Info Hash:                                                         04-07-     Tushy     04-06-2019   04-29-2019   PA0002169945
       8ADBF7897E5FEFB8C146033DA7D89CF3F0BBA569                           2019
       File Hash:                                                         15:33:51
       FBB429D162F8CAEFBBD6E5C5AAE45CEC1BB3899E05F7C3C90AAEE54608CFA878
172    Info Hash:                                                         04-05-     Vixen     04-04-2019   04-29-2019   PA0002169968
       037CFE6EE5FD26826D71BC14B9C4C17F1D75B681                           2019
       File Hash:                                                         01:31:52
       336C39AA81CECA1E786A6C6A838549526A34BF8FCC7AA0D634CEE7A718B6DA26
173    Info Hash:                                                         04-03-     Blacked   04-02-2019   05-28-2019   PA0002200780
       60A3091D0C256FC35025232D5F8DCBFA7D1BE7C9                           2019       Raw
       File Hash:                                                         20:54:10
       DF2362D5ACF3E0E5C7910A44DEE2DD7B578CA09C85019E7CC8C185889814F5C1
174    Info Hash:                                                         03-28-     Blacked   03-26-2019   04-16-2019   PA0002187002
       AA4E7F1D2EB7E81F78A5DA7811E1A2AE67EF4C6D                           2019
       File Hash:                                                         02:11:33
       A53AE027BFF6811943135C73BA9D92C172E7625C5C40075D1FB5C2E3E81F8F38
175    Info Hash:                                                         03-24-     Blacked   03-23-2019   04-08-2019   PA0002164877
       DE04B1E6C69B02158AB22B400D1041F1D07CFAAD                           2019       Raw
       File Hash:                                                         00:38:04
       B8FF037D08567BCE9CDCD7F453A121721F9EAE87AD7B0DB0BABC133C84C2F3D7
176    Info Hash:                                                         03-15-     Vixen     12-25-2018   01-22-2019   PA0002147901
       53DD9DA9E0B24B4961098D0683C348309445E260                           2019
       File Hash:                                                         23:59:17
       3002D9E0CED03E51D4E8365767F09942B9625B1791D889AFE490113BAF34F82E
177    Info Hash:                                                         03-15-     Blacked   05-15-2018   06-19-2018   PA0002126654
       55F7B9F32708505215277682261028FEDB590A60                           2019
       File Hash:                                                         23:54:24
       06CDD274AF3FF035D9BC76B6AC2622D0E84012889163E9A5F44B28F003362EC8
178    Info Hash:                                                         03-15-     Blacked   03-13-2019   04-17-2019   PA0002186977
       F5715B15F5F5F25A400E6297E376883557866B0A                           2019       Raw
       File Hash:                                                         23:24:18
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D
179    Info Hash:                                                         03-12-     Blacked   03-11-2019   03-31-2019   PA0002163979
       0591C911FB9737B3AD6AED0F17DD000294A034A7                           2019
       File Hash:                                                         17:11:25
       4FF404477E05C99BDAB75A2082DAD57AF4A52BF2271449F1448891B4CD1A1BC9
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180    Info Hash:                                                         03-10-     Blacked   03-08-2019   04-29-2019   PA0002169934
       65F85A23FD47D37DA85E22CEB0B8A5DB57FAE27F                           2019       Raw
       File Hash:                                                         06:51:54
       B2C88E63C4476BE59C90FDAF54412C6877330EF27925B9AC89628FF76997D17F
181    Info Hash:                                                         03-05-     Blacked   03-03-2019   04-17-2019   PA0002186905
       9536019879F17F3B90AD722E8B0FAEC984EEEF5A                           2019       Raw
       File Hash:                                                         02:48:24
       1B470AFFB7BF459EE95FEC985D8EF40364FA790362F7C259BA48CC55F111B858
